
352 S.W.3d 411 (2011)
In the Interest of C.W.L.L. &amp; P.L., Juveniles.
No. ED 96294.
Missouri Court of Appeals, Eastern District, Division Four.
November 8, 2011.
Alan D. Arand, Union, MO, Sidney A, Thayer, Jr., Washington, MO, for Appellant.
Heather R. Cunningham, Union, MO, for Respondent.
Charles A. Hurth III, Union, MO, for Guardian Ad Litem.
Before PATRICIA COHEN, P.J., ROBERT M. CLAYTON III, J., and GEORGE W. DRAPER III, Sp.J.

ORDER
PER CURIAM.
B.J.S. ("Mother") and J.L. ("Father") appeal from the trial court's judgment terminating their parental rights to their children, C.W.L.L. and P.L., under Section 211.447 RSMo Cum.Supp.2007. An extended opinion would have no precedential value. The parties have been provided with a memorandum for their information only, setting forth the reasons for this decision. The judgment is affirmed pursuant to Rule 84.16(b).
